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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
DARRELL CONNERS,
Petitioner, Case No. 3:15-cv-00372-RCJ-VPC
vs. ORDER

TIMO'I`HY FlLSON, et al.,

Respondents.

 

Petitioner has filed a first amended petition (ECF No. 34). The court has reviewed it
pursuant to Rule 4 of the Rules Goveming Section 2254 Cases in the United States District Courts.
The court will direct respondents to file a response.

Respondents have filed a motion to substitute party (ECF No. 29), which the court grants.

Petitioner has filed a proper-person request for docket sheet (ECF No. 30). The court strikes
this request because counsel represents petitioner. All requests need to come through counsel. LR
IA ll-6(a).

I'l` IS THEREFORE ORDERED that respondents’ motion to substitute party (ECF No. 29)
is GRANTED. Timothy Filson is substituted for Renee Baker as respondent The clerk of the
court shall change the respondent in the electronic filing system accordingly.

IT IS FURTHER ORDERED that the clerk of the court shall STRIKE petitioner’s proper-
person request for docket sheet (ECF No. 30).

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IT IS FURTHER ORDERED that respondents shall have forty-five (45) days from the date
of entry of this order to answer or otherwise respond to the first amended petition (ECF No. 34).
Respondents shall raise all potential affirmative defenses in the initial responsive pleading,
including lack of exhaustion and procedural default. Successive motions to dismiss will not be
entertained If respondents file and serve an answer, then they shall comply with Rule 5 of the
Rules Goveming Section 2254 Cases in the United States District Courts, and then petitioner shall
have forty-five (45) days from the date on which the answer is served to file a reply. If` respondents

file a motion, then the briefing schedule of Local Rule LR 7-2 shall apply.

DATED; 4¢¢?,¢( 501 .'ZU/ 7.

 

 

